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` TUMBAGA; JUST|N TUMBAGA; and,

\ WlLSON, MD; ER|K P. KOHLER, MD;

` TRANSCARE MED|CAL SERV|CES, |NC.,
§ and, YUKON KUSKOKW|M HEALTH

g CCRP. dba AERCMED lNTERNAT|ONAL
\ TRANSPCRT CC.,

REGE|VED

UN|TED STATES DlSTRlCT CGURT []C]' 3 0 2005

FOR '|'HE DlSTRlCT 0F ALAS|@.LERK, U--`-‘~ M°*Nul CUUM
ANCHORACE, ALASKA

FRED|L|TC TUMBAGA; EVAN
JAYDEN TUMBAGA , a minor, by CASE N0.
EVAN TUMBAGA, his parent,

COMPLA|NT
Plaintiffs,

VS.

UN|TED STATES DEPARTMENT
OF HEALTH AND HUMAN
SERV|CES; ALASKA NAT|VE
MED|CAL CENTER; FRANCES R.

ALVARO TESTA, MD; , MARK

THORND|KE, MD; ALASKA NAT|VE
TR|BAL HEALTH CO NSGRT|UM;

Defendants.

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COMPLA|NT

CGME NOW the Plaintiffs FRED|L|TO TUMBAGA, EVAN TUMBAGA, JAYDEN

TUMBAGA and JUST|N TUMBAGA, by and through counsel Blaine Gilman of Robertson `
Monagle & Eastaugh and Peter Ehrhardt of the Law Offices of Friedman, and for their

causes of action against defendants state as follows:

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The Parties

1.

Plaintiffs were at all times relevant residents of the State of Alaska, Third

Judicial District.

Plaintiffs Fredilito Tumbaga and Evan Tumbaga are married. Justin§

Tumbaga and Jayden Tumbaga are their two sons. Jayden is a minor.

Defendant UN|TED STATES DEPARTMENT OF HEALTH AND HUMAN SERV|CES

("DHHS") was at all times relevant an agency of the United States

government.

Defendant ALASKA NAT|VE MED|CAL CENTER ("ANMC") is owned and
operated by DHHS.

Defendant YUKON KUSKOKW|M HEALTH CORP. dba AEROMED
|NTERNAT|ONAL TRANSPORT CO. is an Alaskan Native Regional Corporation

with its headquarters in Bethel, Alaska,

Defendant, TRANSCARE MED|CAL SERV|CES, |NC., is an Alaska corporation,

with its principal place of business in Anchorage, Alaska,
Defendant ALASKA NAT|VE TR|BAL HEALTH CONSORT|UM ("ANTHC")
employs ANMC physicians.

Defendant Frances Wilson and the other physician defendants are

residents of Alaska and licensed medical doctors employed by ANMC and

upon information and belief, also employees of ANTHC and DHHS.

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Factual Back round

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14.

On October 30, 2004, 36 year old Fredilito Tumbaga was admitted at
ANMC. Earlier that day, Mr. Tumbaga had sustained a spinal fracture and 1
dislocation at C4-C5. He was admitted to the Surgical |ntensive Care Unit
at ANMC. On October 30, 2004, a cord decompression and fixation of C4 `
on C5 was performed. Mr. Tumbaga was sedated until postoperative day g
number three. :
Mr. Tumbaga transferred out of the Surgical |ntensive Care Unit on
November 4, 2004, He remained hospitalized at ANMC.

On November 10, 2004 Mr. Tumbaga was determined to be stable for
transfer to a spinal cord injury unit at the University of Washington in l
Seattle.

Defendant Wilson noted that postoperatively and before transport, Mr.
Tumbaga required a CT angio to rule out blunt carotid injury.

The CT Angiogram is a test designed to look for damage to arteries in the
neck. |f an artery is stretched when neck vertebrae are damaged, the
inside lining can be torn. When this occurs, clots and blockage can occur
resulting in stroke. A CT Angiogram allows artery blockage to be clearly
seen and is considered the appropriate medical standard to be followed.
|n spite of this order a CT Angiogram was not performed on Mr. Tumbaga.

|nstead, on November 9, 2004 the day before transport, Drs. Kohler,

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18.

Wilson, Testa and Thorndike and the other ANMC and ANTHC physicians
negligently ordered and performed other tests which were medically :
inappropriate and inadequate.
Thereafter, Dr. Wilson and other ANMC and ANTHC physicians negligently
signed a Physician Certification Statement for Ambulance Transport§
certifying that Mr. Tumbaga was stable and ready for non-emergency
transport to Seattle.
On November 10, 2004 at 8:15 AM, Mr. Tumbaga was delivered to
defendant Aeromed |nternational by defendant Transcare Medical
Services, |nc., with a discharge summary attached to the transport
authorization. Defendants Transcare and Aeromed were negligent in §
transporting Mr. Tumbaga in his apparent state of distress and in total
disregard for the health and welfare of Mr. Tumbaga after his family
indicated to defendants that Mr. Tumbaga was in a state of distress.
Almost immediately, Aeromed employees noted that Mr. Tumbaga was
“confused as to place and time”. The plane did not depart for several
hours. At 8:40 AM Aeromed negligently administered six milligrams of
morphine to Mr. Tumbaga. Again at 9:15 AM Aeromed negligently §
administered an additional four milligrams of morphine.

Even though Aeromed observed that by 9:20 AM Mr. Tumbaga was
“thrashing about”, instead of aborting the flight and immediately

obtaining emergency care for Mr. Tumbaga, Aeromed negligently

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departed for Seattle. During the flight, Aeromed negligently administered

an additional 10 milligrams of morphine.

19. Upon arrival into Seattle, Mr. Tumbaga was immediately placed in |CU at

the University of Washington Hospital. He was diagnosed with al

cerebellar infarct edema.

20. |n Seattle, surgeons performed a brain surgery removing part of Mr.

Tumbaga’s damaged brain. They also evacuated a clot out of the injured

vertebral arteries.

Negligence of DHHS, ANMC, ANTHC and Defendant Doctors

21. DHHS, ANMC, ANTHC and its employee doctors and staff were negligent.
Their failure to perform a standard post surgical test, the CT Angiogram,
resulted in a failure to diagnose and treat damage and clotting in Mr.
Tumbaga’s vertebral arteries.

22. Additionally, 'ANMC, ANTHC and its employee doctors and staff negligently
certified that it was safe to transport Mr. Tumbaga to Seattle. Had
proper tests been performed and had Mr. Tumbaga been properly
evaluated by ANMC, its doctors and staff, Mr. Tumbaga would not have
been transported and would not have suffered a massive stroke during
transport and resulting total impairment.

23. Additionally, ANMC, ANTHC and its employee doctors and staff were

negligent in other respects to be proven with more specificity at trial.

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24. As a direct and proximate result of the negligence of DHHS, ANMC, ANTHC v
and its employee doctors and staff, Mr. Tumbaga sustained a Cerebral
stroke on right-bilateral cerebellar infarct; Ataxia; Central Cord j
Syndrome; Dementia; chronic respiratory failure; suboccipital
craniectomy; neurocognitive deficits; Diplopia; left eye abduction
paralysis & double vision; Dysphagia; left shoulder pain; neck pain;
abdominal pain; anxiety; agitation; depression; medical expenses, past,
present & future; lost income, past, present & future; loss of consortium,
loss of enjoyment of life; pain and suffering and additional injuries to be 1
proven with more specificity at trial, but in excess of $1,000,000.00. `

25. On April 24, 2006, Plaintiff Fredilito Tumbaga’s claims were presented to l
the DHHS in accordance with the Federal Tort Claims ACT (FFCA) 28 USC
§§2671-2680. After the agency had the claim for six months and failed to l

settle or deny it, the claimant does, at his option, deem the claim denied

and file suit in federal court. [Ex. A]

Negligence of Aeromed & TransCare Medical Servicesz |nc.
26. Aeromed and Transcare were negligent in failing to properly monitor Mr.

Tumbaga’s condition, improperly administered drugs to Mr. Tumbaga,

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during the transportation of Mr. Tumbaga while he was medically unfit to

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travel and in other respects to be proven with more specificity at trial.

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27.

As a direct and proximate result of the negligence of defendants Aeromed

and Transcare, Mr. Tumbaga sustained a Cerebral stroke on right-bilateral

cerebellar infarct; Ataxia; Central Cord Syndrome; Dementia; chronic

respiratory failure; suboccipital craniectomy; neurocognitive deficits; ?

Diplopia; left eye abduction paralysis & double vision; Dysphagia; left

shoulder pain; neck pain; abdominal pain; anxiety; agitation; depression;

medical expenses, past, present & future; lost income, past, present & §

future; loss of consortium, loss of enjoyment of life; pain and suffering `

and additional injuries to be proven with more specificity at trial, but in

excess of $1,000,000.00.

Claims of Evan TumbagaLJustin Tumbaga_and Jayden Tumbag

28.

29.

As a direct and proximate result of all the Defendants’ negligence,
plaintiffs Evan Tumbaga, Justin Tumbaga and Jayden Tumbaga lost the
care, comfort, society, consortium, companionship and services of their
husband and father plaintiff Fredilito Tumbaga, have been injured

thereby, and are entitled under law to recover against Defendants for

these losses in an amount in accord with proof at trial but in excess of

$1,000,000.00.
On April 24, 2006, Plaintiffs Evan Tumbaga, Justin Tumbaga and Jayden

Tumbaga claims were presented to the DHHS in accordance with the

Federal Tort Claims ACT (Fl'CA) 28 USC §§ 2671-2680. After the agency `

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had the claims for six months and failed to settle or deny it, the

claimants, as their option, deem the claims denied and file suit in federal

court. [Exs. B-D]

WHEREFORE, Plaintiffs pray for relief as follows:

1. For compensatory damages
2. For costs, attorney's fees, and prejudgment interest; and
3. For such other relief as the Court deems just and proper.

DATED this 24th day of October, 2006,

FOR PLA|NT|FFS:

 

ETER R. EHRHARDT - ASBA 8006016
Attorney for Plaintiff

ROBERTSON MONAGLE & EASTAUGH

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